     Case 2:23-cv-04274-SVW-PVC               Document 37          Filed 10/16/24        Page 1 of 3 Page ID
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 James E. Shelton
 316 Covered Bridge Road
 King of Prussia, PA 19406
 (484)312-3300
 Jamie@finalverdictsolutions.com
 Assignee of Record, In Pro Per


                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                                 CASE NUMBER:
JORGE ALEJANDRO ROJAS

                                      PLAINTIFF(S),                       2:23-cv-04274-SVW-PVC
                            v.

BRIGHT WORLD, LLC & ELMER A. VALLE                                 ABSTRACT OF JUDGMENT/ORDER
BATRES
                                    DEFENDANT(S).


Icertify that in the above-entitled action and Court, Judgment/Order was entered on April 25, 2024
in favor of JORGE ALEJANDRO ROJAS
whose address is 557 Cambridge Way, Bolingbrook, IL 60440
and against BRIGHT WORLD, LLC, and ELMER A. VALLE BATRES
whose last known address is 5771 N. Katy Ln, Fresno, CA 93722
for $ 3500.00                Princiral, $ 0.00                Interest,           $ 554.26                 Costs,
and $ 0.00                       Attorney Fees.                                     See ECF No. 24 dated 3/28/2024


ATTESTED this          ~ ~              day of ~c-~j ~~ r             , 2024 .
Judgment debtor's driver's license no. and state;                                (last 4 digits) ❑✓ Unknown.
Judgment debtor's Social Security number;                   5606                 (last 4 digits) ❑Unknown.
❑
✓ No stay of enforcement ordered by Court
❑ Stay of enforcement ordered by Court, stay date ends


]udgment debtor's attorney's name and address and/or
address at which summons was served:


7643 North Ingram Avenue
Ste 101
Fresno, CA 93711                                       :~




NOTE:JUDGMENTS REGISTERED UNDER 28 U.S.C. §1963 BEAR THE RATE OFINTEREST OF THE DISTRICT OF ORIGIN
AND CALCULATED AS OF THE DATE OF ENTRYIN THAT DISTRICT.

G-18 (03112)                                ABSTRACT OF JUDGMENT/ORDER
         Case 2:23-cv-04274-SVW-PVC   Document 37          Filed 10/16/24   Page 2 of 3 Page ID
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